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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION


    BABY DOE et al.,

                   Plaintiffs,
                                                                 Civil Action No. 3:22-cv-49
    v.

    MAST et al.,

                   Defendants.


                                     Declaration of Frank M. Branch

          Pursuant to 28 U.S.C. § 1746, I, Frank M. Branch, hereby state and declare as follows:

          1. I am the Special Security Officer (SSO) for United States Central Command

   (USCENTCOM), U.S. Department of Defense (DoD). USCENTCOM is one of 11 combatant

   commands of the United States armed forces; it directs and enables military operations and

   activities with allies and partners to increase regional security and stability in support of enduring

   United States interests within its Area of Responsibility (AOR). At present, USCENTCOM’s AOR

   includes 20 nations in the Middle East, Central and South Asia, including Afghanistan, and the

   strategic waterways that surround them. Prior to 2008, USCENTCOM’s AOR also included seven

   African nations. Like all combatant commands, USCENTCOM constitutes a headquarters element

   without any military units permanently assigned to it; USCENTCOM operates with component

   commands within its AOR—one for each of the U.S. armed services, along with a joint special

   operations component and a number of subordinate joint task forces.

          2. As the SSO, I am responsible to the Commander, USCENTCOM for classification

   management of national security information. In this capacity I manage a staff of dedicated security
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   professionals whose primary function is to oversee the processes for classifying, safeguarding and

   declassifying of national security information pursuant to Executive Order (E.O.) 13526,

   Classified National Security Information. Document review is an essential part of classification

   management. The review process ensures an accurate and accountable application of classification

   standards. We work directly with subject matter experts and various staff sections to provide a

   well-reasoned classification determination to the commands OCAs, pursuant to E.O. 13526.

   Pursuant to DoD Instruction (DoDi) 5200.48, we also review documents that are not classified but

   may contain information that warrants protection from public dissemination.

          3. I make the following declaration in support of nominal defendant the Department of

   Defenses motion to seal pages within Exhibit 6 to defendant Richard Masts Memorandum in

   Opposition to Plaintiffs Motion for Protective Order in the above-named litigation. Through my

   role as SSO, I am aware that DoD Office of General Counsel asked USCENTCOM to review the

   document contained in these pages to assess whether the information it contained could be made

   public consistent with DoD equities, including its obligation to protect certain information

   implicating national security. All pages of the document are marked FOUO (For Official Use

   Only), which is a designation used by DoD to identify information or material which, although

   unclassified, may not be appropriate for public release. I provide the following description of the

   document at issue and USCENTCOMs review of this document based on my personal knowledge

   and information obtained in the course of my official duties as SSO.

          4. The document that USCENTCOM was asked to review consists of a 2-page narrative on

   purported Headquarters Resolute Support letterhead, followed by 2 pages of photographs and 2

   pages of diagrams. I understand that DoD has not recognized or endorsed this document as an

   official DoD memorandum. However, DoD has determined the document contains United States
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   Government information that defendant Joshua Mast obtained through his DoD employment,

   relating to a September 2019 combat operation in Afghanistan. Because the purpose of

   USCENTCOMs review was limited to assessing what information in the document could be made

   public, this review did not assess the accuracy of any assertions in the document or whether the

   facts were complete or supported those assertions.

          5. The Chief of Staff for USCENTCOM, Major General David Doyle, conducted the

   review. Major General Doyle has been designated as a TOP SECRET Original Classification

   Authority (OCA) by the Secretary of Defense, with authorization to classify and declassify national

   security information. He serves as both the OCA and the Initial Denial Authority (IDA) under the

   FOIA and the Mandatory Declassification Review (MDR) process pursuant to Executive Order

   13526. He also conducts decontrolling reviews pursuant to DoDi 5200.48. The SSO is the principal

   staff section that advises and assists Major General Doyle in his duties as both an OCA and a

   decontrolling official.

          6. Following Major General Doyles review, USCENTCOM, through the Chief of Staff,

   approved a partial public release of information in the document on March 6, 2023, but identified

   parts of the 2-page narrative, as well as the photographs and diagrams in their entirety, as requiring

   redaction from any publicly released version. Major General Doyle then conducted a further review

   upon learning that certain information previously identified for redaction had separately been

   approved for public release. USCENTCOM, through the Chief of Staff, approved a revised partial

   public release of information on May 3, 2023. See Ex. A (attached hereto).

          7. The information in the 2-page narrative that USCENTCOM identified as warranting

   protection reveals specific details of a military operation conducted by joint U.S. forces in

   September 2019 (page 1), including U.S. forces objective (page 1); tactics, techniques, and
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